                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                       AT WINCHESTER

FREEMAN M. FROTHINGHAM, JR., AS    )
EXECUTOR OF THE ESTATE OF AND FOR  )
USE AND BENEFIT OF THE STATUTORY   )
BENEFICIARIES OF FREEMAN M.        )
FROTHINGHAM, SR., DECEASED         )
                                   )
              PLAINTIFF,           )                         NO. 4:12-cv-00035
                                   )                         JURY DEMANDED
v.                                 )
                                   )
GGNSC WINCHESTER, LLC d/b/a Golden )
Living Center-Mountain View; GPH   )
WINCHESTER, LLC; GGNSC EQUITY      )
HOLDINGS, LLC; GGNSC CLINICAL      )
SERVICES, LLC; GOLDEN GATE         )
NATIONAL SENIOR CARE, LLC; GGNSC   )
ADMINISTRATIVE SERVICES, LLC;      )
GOLDEN GATE ANCILLARY, LLC; GGNSC )
HOLDINGS, LLC; AND 360 HEALTHCARE )
STAFFING, LLC,                     )
                                   )
              DEFENDANTS.          )

                                JOINT NOTICE OF SETTLEMENT

         The parties jointly submit this Notice to inform the Court that the parties have reached a

confidential settlement in the above-styled case and will be filing a Stipulation of Dismissal with

the Court in the near future.

Dated: July 8, 2014




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                                  Respectfully submitted,

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                                  Gate National Senior Care, LLC; GGNSC
                                  Administrative Services, LLC; Golden Gate
                                  Ancillary, LLC; GGNSC Holdings, LLC; and
                                  360 Healthcare Staffing, LLC



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                                 CERTIFICATE OF SERVICE

         I certify that on July 8, 2014, a copy of the foregoing was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt.


                                                      BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.


                                                      By: /s/Amanda E. Kelley
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